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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


JEROME SENEGAL, ERIKA WILLIAMS,
BRENT GRIFFIN, IRVIN NASH, AMANDA                          No. 18-cv-6006
JASON, and KELLIE FARRISH, on behalf of
themselves and those similarly situated,
                                                           Judge Manish S. Shah
                               Plaintiffs,
                v.

JPMORGAN CHASE BANK, N.A.,

                               Defendant.


                        SETTLEMENT AGREEMENT AND RELEASE

         This Settlement Agreement and Release (the “Settlement Agreement”) is entered into by

and between Plaintiffs (as hereinafter defined) and the Class of individuals they represent (as

hereinafter defined) and Defendant (as hereinafter defined).

I.       INTRODUCTION

         Subject to approval by the Court, this Settlement Agreement sets forth the full and final

terms by which the Named Plaintiffs, on behalf of themselves and a Class of African American

and Black Financial Advisors (“FAs”), Financial Advisor Associates (“FAAs”), Senior Financial

Advisors (“SFAs”), or Private Client Advisors (“PCAs”) (collectively, “Advisors”) employed by

Defendant JPMorgan Chase Bank, N.A. (the “Defendant” or “Chase”) or JPMorgan Securities,

LLC within Chase Wealth Management at any time between April 13, 2013 and the Preliminary

Approval Date, and Defendant (collectively, the “Parties”), have settled and resolved all race

discrimination and related retaliation claims that were or could have been raised in the Action to

be captioned Senegal, et al. v. JPMorgan Chase Bank, N.A., in the United States District Court




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for the Northern District of Illinois and to be initiated by Plaintiffs simultaneously with the filing

of this Settlement Agreement and Release.

II.     NATURE AND RESOLUTION OF THE CASE

        A.     In early August of 2016, Plaintiff Jerome Senegal, an African American Advisor

employed by Chase, retained Class Counsel to represent him with respect to his individual and

potential classwide claims of race discrimination and related retaliation in employment. Plaintiff

Senegal alleged that African American and Black Advisors had been and were being assigned to

less lucrative branches and denied business opportunities, among other things, because of race

and had experienced race discrimination and related retaliation in other terms and conditions of

their employment.

        B.     Class Counsel conducted an extensive investigation into the individual and

classwide claims at issue. They conducted in-depth interviews of potential class members across

the United States and reviewed and analyzed company documents and publicly-available

information, including information about Chase, the financial services industry, and United

States Census data reflecting the demographics of bank territories.

        C.     As a result of its investigation, Class Counsel filed charges of discrimination with

the Equal Employment Opportunity Commission (“EEOC”) for Plaintiff Jerome Senegal on

February 3, 2017; Plaintiff Erika Williams on February 28, 2017; and Plaintiff Brent Griffin on

March 24, 2017. Plaintiffs Amanda Jason, Kellie Farrish and Irvin Nash retained Class Counsel

and agreed to serve as Class Representatives shortly thereafter, as Class Counsel’s investigation

continued. Senegal, Williams, Griffin, Jason, Farrish, and Nash are collectively referred to as

Plaintiffs or Named Plaintiffs.

        D.     In conjunction with this Settlement Agreement, Plaintiffs will file the Complaint

in the Court to initiate a putative class action on behalf of themselves and a nationwide class of
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African American and Black Advisors, against the Defendant pursuant to Title VII of the Civil

Rights Act of 1964, as amended, 42 U.S.C. § 2000e, et seq. (“Title VII”) and 42 U.S.C. § 1981

(“Section 1981”).

       E.      In an effort to determine whether the Parties could settle this dispute prior to a

lengthy litigation, the Parties’ counsel, who are experienced class action attorneys, participated

in detailed and exhaustive discussions and negotiations, beginning in May of 2017. The parties

also executed an agreement tolling and extending the statute of limitations periods and deadlines

related to the Plaintiffs’ claims as of April 21, 2017.

       F.      After exchanging information among counsel about the claims, the Parties

engaged the services of the Honorable Layn Phillips, a former federal judge who currently serves

as a mediator. Judge Phillips became familiar with the case and conducted two mediation

sessions with the Parties and their counsel in New York. Thereafter, Class Counsel and

Defendant’s Counsel conducted numerous telephone conferences and an in-person meeting in

New York. The formal mediation sessions and follow-up settlement discussions and meetings

between the Parties culminated in a settlement and the execution of this Settlement Agreement.

During the negotiations, the Parties’ counsel bargained vigorously on behalf of their respective

clients. All negotiations were conducted at arm’s length and in good faith.

       G.      For settlement purposes, Class Counsel sought, and Defendant produced to Class

Counsel, years of employment workforce data, relevant employment policies, and related

documents concerning the Advisor workforce and work practices relevant to the claims asserted

and damages sought by Plaintiffs and the Class. Class Counsel and the Named Plaintiffs studied

and analyzed the documents and information produced and retained a labor economist from the

University of Pennsylvania. Plaintiffs’ expert studied and analyzed over four years of workforce



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data and publicly available census data, in order to calculate rates of representation, attrition and

compensation by race, the assignment of geographical territory by race, and to prepare damages

models based on the claims at issue. Class Counsel also conducted extensive factual and legal

research in order to properly evaluate the claims and Defendant’s defenses in light of the factual

record.

          H.   Counsel for the Defendant conducted its own substantial investigation of the

matter, including the facts underlying the claims and issues raised in the charges and the

Complaint. The investigation included, among other things, reviewing a substantial number of

relevant company records and retaining a labor economist to review relevant data.

          I.   As a result of the substantial exchange of information, the investigations, and

other activity, counsel for the Parties are familiar with the strengths and weaknesses of their

respective positions, and have had a full opportunity to assess the litigation risks presented in this

Action.

          J.   Parties and their counsel recognize that, in the absence of an approved settlement,

they would face a long litigation course, including motions to compel arbitration and discovery,

motions for class certification, formal discovery, motions for summary judgment, trial, and

potential appellate proceedings that would consume time and resources and present each party

with ongoing litigation risks and uncertainties. The Parties wish to avoid these risks and

uncertainties, as well as the consumption of time and resources, and have decided that an

amicable settlement pursuant to the terms and conditions of this Settlement Agreement is more

beneficial to them than continued litigation. Class Counsel believes that the terms of the

Settlement Agreement are in the best interests of the Class and are fair, reasonable, and adequate.




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        K.      Defendant specifically and generally denies all of the claims asserted in the

Action, denies any and all liability or wrongdoing of any kind whatsoever associated with any of

the facts or claims alleged in the Action, and makes no concession or admission of wrongdoing

or liability of any kind whatsoever. This Settlement Agreement does not, and is not intended to

constitute, nor shall it be deemed to constitute, an admission by any party as to the merits,

validity, or accuracy of any of the allegations, claims, or defenses of any party in this case. By

entering into this Agreement, Defendant does not admit or concede, expressly or impliedly, but

instead denies that it has in any way violated Title VII, Section 1981, or any parallel federal,

state and local laws prohibiting race discrimination or retaliation, the common law of any

jurisdiction, or any other federal, state or local law, statute, ordinance, regulation, rule or

executive order, or any other obligation or duty at law or in equity. Neither the Court nor any

other court has made any findings or expressed any opinion concerning the merits, validity, or

accuracy of any of the allegations, claims, or defenses in this Action.

        L.      Nothing in this Settlement Agreement, nor any action taken in implementation

thereof, nor any statements, discussions or communications between the parties, nor any

materials prepared, exchanged, issued or used during the course of the mediation or negotiations

leading to this Settlement Agreement, is intended by the Parties to, nor shall any of the foregoing

constitute, be introduced, be used or be admissible in any way in this case or any other judicial,

arbitral, administrative, investigative or other proceeding of whatsoever kind or nature

(including, without limitation, the results of the Claims Process established under this Settlement

Agreement), as evidence of discrimination, retaliation or harassment or as evidence of any

violation of Title VII , Section 1981, parallel federal, state and local laws prohibiting race

discrimination or retaliation, the common law of any jurisdiction, or any other federal, state or



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local law, statute, ordinance, regulation, rule or executive order, or any obligation or duty at law

or in equity. Notwithstanding the foregoing, this Settlement Agreement may be used in any

proceeding in the Court or in mediation to enforce or implement any provision of this Settlement

Agreement or implement any orders or judgments of the Court entered in connection herewith.

III.     GENERAL TERMS OF THE SETTLEMENT AGREEMENT

         A.      Definitions. The defined terms set forth herein shall have the meanings ascribed

to them below.

                 1.     “Action” means the civil action to be initiated by Plaintiffs in conjunction

with this Settlement in the United States District Court for the Northern District of Illinois (the

“Court”), to be captioned Senegal, et al. v. JPMorgan Chase & Co., et al., and the allegations

contained in, or that could have been contained in, the Complaint filed in the Action. In no event

shall Defendant be required to answer or respond to the Complaint, unless the Court denies

approval of the Settlement Agreement.

                 2.     “Administrative Costs” means all costs in connection with the

administration of the Settlement Agreement and the Settlement Fund including, but not limited

to, those related to sending Notice, claims processing, legal advice relating to the establishment

of the Qualified Settlement Fund and tax treatment and tax reporting of awards to claimants,

preparation of tax returns (and the taxes associated with such tax returns as defined below), the

Claims Administrator’s fees and expenses, and costs of the claims resolution process, including

the fees and expenses of the Neutrals and the Neutral Administrator and experts performing

services for the Neutrals or Neutral Administrator in the settlement process.

                 3.     “Awards” means the Monetary Awards and the Supplemental Monetary

Awards as described in Sections III(A)(24) and III(A)(47) below.



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               4.      “Claimants” means the Class Members who have submitted a timely

Claim Form to the Claims Administrator.

               5.      “Claim Form” means the claim forms, Simple or Detailed, that Claimants

must submit to the Claims Administrator in order to receive a monetary award in the claims

process described in Section VII(C) below.

               6.      “Claims Administrator” means the third-party claims administration firm

to be mutually agreed to by the Parties to fulfill the duties set forth herein, including to serve

Notice, maintain a website accessible to Class Members as described in Section IV(C)(1)(c)

below, and administer aspects of the Claims Resolution Process and Settlement Fund pursuant to

Section VII below and related orders of the Court.

               7.      “Class” means the class that the Plaintiffs seek to have certified, solely for

the purposes of this Settlement Agreement, which is defined as:

               All African American and/or Black Financial Advisors (“FAs”), Financial
               Advisor Associates (“FAAs”), Senior Financial Advisors (“SFAs”), or Private
               Client Advisors (“PCAs”) (as those terms are defined below) employed by
               JPMorgan Chase Bank, N.A. or JPMorgan Securities, LLC within Chase Wealth
               Management at any time between April 13, 2013 and the Preliminary Approval
               Date.

               8.      “Class Counsel” means the law firm of Stowell & Friedman, Ltd., and

Linda D. Friedman, Suzanne E. Bish, and George S. Robot.

               9.      “Class Member” means an individual who is a member of the Class.

               10.     “Class Period” means the period running from April 13, 2013 through the

Preliminary Approval Date.

               11.     “Court” means the United States District Court for the Northern District of

Illinois.




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               12.     “Covered Positions” means, collectively, current and former Financial

Advisors, Financial Advisor Associates, Senior Financial Advisors, and Private Client Advisors

(as those terms are defined below), employed by Defendant or JPMorgan Securities, LLC within

Chase Wealth Management.

               13.     “Defendant” or “Chase” means JPMorgan Chase Bank, N.A.

               14.     “Defendant Releasees” means JPMorgan Chase Bank, N.A., and its

current, former, and future affiliates, including, but not limited to JPMorgan Chase & Co. and

JPMorgan Securities, LLC, and including, without limitation, parents, subsidiaries, and related

entities, predecessors, successors, divisions, joint ventures and assigns, and each of these

entities’ past or present directors, officers, employees, partners, members, employee benefit

plans (and their agents, administrators, fiduciaries, insurers and reinsurers), principals, agents,

insurers, co-insurers, re-insurers, managers, shareholders, attorneys, and personal or legal

representatives, in their individual and representative capacities.

               15.     “Defendant’s Counsel” means the law firms Morgan Lewis & Bockius

LLP, Paul, Weiss, Rifkind, Wharton & Garrison LLP, and Defendant’s in-house counsel.

               16.     “Detailed Claim Form” means the form Claimants must submit to the

Claims Administrator if they want the option of an individual assessment of their claims and

losses by qualified, independent Neutrals (the “Neutrals”), subject to approval by the Neutral

Administrator, as part of the Individual Claims Resolution Program (“ICRP”).

               17.     “Diversity and Reserve Fund” means the amount of Four Million Five

Hundred Thousand Dollars ($4,500,000) that the Defendant has agreed to allocate to: (a) pay the

Administrative Costs; (b) satisfy all Supplemental Monetary Awards; and (c) fund Diversity

Programs and Initiatives as described in Section VI below. In no event shall the Diversity and



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Reserve Fund exceed more than Four Million Five Hundred Thousand Dollars ($4,500,000) in

the aggregate over the Programmatic Relief Period. Three Million of the Diversity and Reserve

Fund shall be deposited into the Qualified Settlement Fund to be used as set forth in Section

VI(I)(2). Any undistributed funds from the Diversity and Reserve Fund deposited with the

Claims Administrator for use for Administrative Expenses or Supplemental Awards shall be

transferred to Chase for additional funding of Diversity Programs and Initiatives as described in

Section VI below.

               18.     “Effective Date” means the date on which all of the following have

occurred: (1) the Court has finally approved and entered this Settlement Agreement; (2) the

Court has entered an Order and Judgment dismissing the Action with prejudice, with continuing

jurisdiction limited to enforcing this Settlement Agreement; and (3) the time for appeal has either

run without an appeal being filed or any appeal (including any requests for rehearing en banc,

petitions for certiorari or appellate review) has been finally resolved.

               19.     “Fairness Hearing” means the hearing at which the Court will consider

final approval of this Settlement Agreement and related matters.

               20.     “Final Approval Date” means the date on which the Court grants final

approval of the settlement.

               21.     “Financial Advisor” or “FA” means a person who is or was employed as a

financial advisor by JPMorgan Chase Bank, N.A. or JPMorgan Securities, LLC within Chase

Wealth Management.

               22.     “Financial Advisor Associate” or “FAA” means a person who is or was

employed as a financial advisor associate by JPMorgan Chase Bank, N.A. or JPMorgan

Securities, LLC within Chase Wealth Management.



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               23.     “Judgment” means the judgment to be rendered by the Court pursuant to

this Settlement Agreement.

               24.     “Monetary Awards” means the Expedited Monetary Awards and

individual monetary awards determined by the Neutrals, subject to approval by the Neutral

Administrator, for Claimants as described in Section VII below, but not including the

Supplemental Monetary Awards, as described in Section III(A)(47) below.

               25.     “Named Plaintiff Release” means the General Release Agreement in the

form, attached hereto as Exhibit E, agreed to by counsel for the Parties with respect to the

Named Plaintiffs as referenced in Section V.

               26.     “Net Diversity and Reserve Fund” means the remainder of the Diversity

and Reserve Fund after deductions for Administrative Costs and the $1.5 million amount initially

set aside for Diversity Programs and Initiatives.

               27.     “Net Settlement Amount” means the remainder of the Settlement Amount

after deductions for court-approved attorneys’ fees and costs as described in Section VIII(A) and

court-approved Service Awards as described in Section VIII(B).

               28.     “Neutral Administrator” means Lynn Cohn, the individual agreed upon by

the Parties and appointed by the Court under Rule 53 of the Federal Rules of Civil Procedure to

perform certain duties in connection with this Settlement Agreement as provided in Section

VII(D).

               29.     “Neutrals” means the independent, qualified third-party neutrals, selected

by the Neutral Administrator with substantial training and experience with employment

discrimination claims, who will evaluate each Class Member’s claim and recommend an

individual Award for each Class member as described in Section VII below.



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                 30.   “Notice” means the “Notice of Class Action, Proposed Settlement

Agreement, and Fairness Hearing,” which the Claims Administrator will mail directly to Class

Members and potential Class Members substantially in the forms attached hereto as Exhibits B

and C.

                 31.   “Notice of Award” means the letter sent to each Claimant specifying the

amount of that Claimant’s award, as determined by the Neutrals and approved by the Neutral

Administrator.

                 32.   “Opt-Out Request” means a written request to the Claims Administrator

signed by a Class Member requesting exclusion from the Settlement, which must: (i) be signed

by the Class Member; (ii) contain the name, address, telephone number and last four digits of the

Social Security Number of the Class Member requesting exclusion; (iii) clearly state that the

Class Member is aware that by opting out he or she will forego the opportunity to receive

monetary benefits from this Settlement and that he or she do not wish to be included in the

Settlement; (iv) be returned by mail to the Claims Administrator at the specified address; and (v)

be received by a date certain, to be specified on the Notice.

                 33.   “Opt-Outs” means any Class Member who timely submits an Opt-Out

Request.

                 34.   “Order Granting Preliminary Approval” means the Order entered by the

Court preliminarily approving, inter alia, the terms and conditions of this Settlement Agreement,

the manner and timing of providing notice to the Class, and the time period for opt-outs and

objections, substantially in the form attached hereto as Exhibit D.

                 35.   “Plaintiffs” or “Named Plaintiffs” means Jerome Senegal, Erika Williams,

Brent Griffin, Irvin Nash, Amanda Jason and Kellie Farrish.



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               36.     “Preliminary Approval Date” means the date that the Court enters the

Order Granting Preliminary Approval.

               37.     “Private Client Advisor” or “PCA” means a person who is or was

employed as a private client advisor by JPMorgan Chase Bank, N.A. or JPMorgan Securities,

LLC within Chase Wealth Management.

               38.     “Programmatic Relief Period” means the three (3) year period following

the Effective Date during which the Programmatic Relief set forth in this Settlement Agreement

shall remain binding on the Parties and their agents and successors.

               39.     “Released Claims” means any and all claims of race discrimination or

related retaliation arising out of the Named Plaintiffs’ and/or Class Members’ employment with

Defendant or JPMorgan Securities, LLC through the Preliminary Approval Date, known or

unknown, that the Named Plaintiffs and Class Members may have against Defendant, its parent,

subsidiaries and affiliated companies, and in the case of all such entities, their respective past and

present owners, representatives, officers, directors, attorneys, agents, employees, insurers,

predecessors, successors and assigns (collectively referred to as the “Released Parties”), arising

out of the same transactions, series of connected transactions, occurrences or nucleus of

operative facts that form the basis of the claims that were or could have been asserted in the

Action. This release does not include or cover any conduct or omissions occurring after the

Preliminary Approval Date. Specifically included in this release are any and all race

discrimination or related retaliation claims arising out of the Named Plaintiffs’ and/or Class

Members’ employment with Defendant, through the Preliminary Approval Date, the same

transactions, series of connected transactions, occurrences or nucleus of operative facts that form

the basis of the claims that were or could have been asserted in the Action, including but not



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limited to, claims of alleged racial employment discrimination, related retaliation or benefits

claims under Title VII, Section 1981, and any other federal, state, or local statute, common law,

or regulation. Furthermore, the Released Claims include all claims for monetary damages,

injunctive, declaratory or equitable relief, and costs and attorneys’ fees, whether arising under

Title VII, Section 1981 or any other federal, state, local or common laws or regulations arising

out of the same transactions, series of connected transactions, occurrences or nucleus of

operative facts that form the basis of the race discrimination or related retaliation claims that

were or could have been asserted in this Action.

               40.     “Senior Financial Advisor” or “SFA” means a person who is or was

employed as a senior financial associate by JPMorgan Chase Bank, N.A. or JPMorgan

Securities, LLC within Chase Wealth Management.

               41.     “Service Award(s)” means an amount approved by the Court to be paid to

the Plaintiffs as set forth in Section VIII(B) in addition to their Monetary Award as Claimants, in

recognition of their efforts in coming forward as Plaintiffs and otherwise benefitting the Class.

As a condition of receiving a Service Award, each recipient shall execute an individual general

release agreement consistent with the terms of Section V of this Settlement Agreement

               42.     “Settlement” means the terms and conditions set forth in this Settlement

Agreement.

               43.     “Settlement Amount” means the amount of Nineteen Million Five

Hundred Thousand Dollars ($19,500,000) that Defendant shall pay under the terms of this

Settlement Agreement for the Monetary Awards to Class Members, including the employee’s

share of payroll taxes, Class Counsel’s attorneys’ fees and costs, and Service Awards. The

Settlement Amount does not include the employer’s share of payroll taxes, which shall be funded



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separately by the Defendant, or Supplemental Monetary Awards, which shall be paid from the

Diversity and Reserve Fund as described in Section VI(I) below.

               44.     “Settlement Class” or “Settlement Class Members” means all of the Class

Members who do not opt out of the Settlement Class by timely submitting an Opt-Out Request

pursuant to Section IV(E).

               45.     “Settlement Fund” means the Nineteen Million Five Hundred Thousand

Dollars ($19,500,000), including any interest earned thereon, to be held, invested, administered,

and disbursed pursuant to this Settlement Agreement.

               46.     “Simple Claim Form” means the form Claimants must submit to the

Claims Administrator if they elect an Expedited Monetary Award and not to participate in the

Individual Claims Resolution Program.

               47.     “Supplemental Monetary Awards” means the Expedited Monetary Awards

or individual Monetary Awards determined by the Neutrals, and approved by the Neutral

Administrator, for: (i) Class Members who were first employed by Defendant or JPMorgan

Securities, LLC in a Covered Position within Chase Wealth Management between June 28, 2017

and the Preliminary Approval Date, and (ii) individuals deemed to be Class Members and added

to the Class by the Neutral Administrator who were employed by Defendant or JPMorgan

Securities, LLC in a Covered Position within Chase Wealth Management at any time during the

Class Period who: (a) self-identified in the EEO category “Two or More Races (Not Hispanic or

Latino),” or (b) did not self-identify as any race.

       B.      Duration of the Settlement. The Programmatic Relief set forth in this Settlement

Agreement and the agreements incorporated herein shall remain binding on the Parties and their

agents and successors for a three (3) year period following the Effective Date.



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       C.      Cooperation. The Parties agree that they will cooperate to effectuate and

implement all terms and conditions of this Settlement Agreement, and exercise good faith efforts

to accomplish the terms and conditions of this Settlement Agreement. The Parties agree to

accept non-material and procedural changes to this Settlement Agreement if so required by the

Court in connection with Final Approval of the Settlement, but are not obligated to accept any

changes in the monetary amount of relief or material change in the substantive Programmatic

Relief provided for herein, or any other material substantive change

       D.      Certification of the Class for Settlement Purposes Only.

               1.      Within twenty (20) days after the execution of this Settlement Agreement,

Plaintiffs will file a Complaint and request that the Court certify the Class pursuant to Federal

Rules of Civil Procedure 23(b)(2) and 23(b)(3). The Settlement Agreement shall be filed

simultaneously with the Complaint, or as soon thereafter as is practicable. Defendant will not

oppose Plaintiffs’ request to certify the Class for settlement purposes only. The Named Plaintiffs

and Class Counsel agree that, if the Action were to proceed, they would not argue or present any

argument, and hereby waive any argument, based on this settlement or this Settlement

Agreement or any exhibit and attachment hereto, or any act performed or document executed

pursuant to or in furtherance of this settlement or this Settlement Agreement or negotiations that

led to settlement, that Defendant should be thereby barred from contesting class action

certification pursuant to Federal Rule of Civil Procedure 23, or from asserting any and all other

potential defenses and privileges. This Settlement Agreement shall not be deemed an admission

by, or a basis for estoppel against, Defendant that class action treatment pursuant to Federal Rule

of Civil Procedure 23 in the Action is proper or cannot be contested on any grounds.

               2.      If, for any reason, the Court does not approve this Settlement Agreement,

fails to enter the Order Granting Final Approval, or fails to enter the Judgment, or if this
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Settlement Agreement is lawfully terminated for any other reason, then Plaintiffs’ prior request

for class certification shall be deemed null and void ab initio, Plaintiffs shall retain the absolute

right to assert any and all claims and to seek class certification, and Defendant shall retain the

absolute right to dispute the propriety of class certification on all applicable grounds.

IV.      COURT APPROVAL, CLASS NOTICE AND FAIRNESS HEARING

         A.    Jurisdiction.

               1.      The Parties agree that the Court has jurisdiction over the Parties and the

subject matter of this Action. The Court shall retain jurisdiction of this Action for three (3) years

from the Effective Date of the Settlement Agreement solely for the purpose of entering all orders

and judgments authorized hereunder that may be necessary to implement and enforce the relief

provided herein.

               2.      If, for any reason, the Court does not approve this Settlement Agreement,

fails to enter the Order Granting Final Approval, or fails to enter the Judgment, or if this

Settlement Agreement is lawfully terminated for any other reason, Defendant shall have the right

to seek to transfer the Action to the United States District Court for the Southern District of New

York.

         B.    Preliminary Approval.

               1.      Prior to execution of this Settlement Agreement, the Parties have agreed

upon written Notices of this Settlement Agreement to be sent to Class Members and potential

Class Members, subject to Court approval.

               2.      Within twenty (20) days after the execution of this Settlement Agreement,

Plaintiffs shall file an unopposed motion with the Court for an order preliminarily certifying the

Class for settlement purposes; preliminarily approving this Settlement Agreement; approving the

Notice to be sent to Class Members and potential Class Members describing the terms of the

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Settlement and informing them of their rights to submit objections and to opt out; and

preliminarily enjoining, pending the outcome of the Fairness Hearing, (i) all Class Members

from commencing, prosecuting, or maintaining any claim already asserted in, or encompassed

by, this Action, and (ii) all Class Members (including those who request exclusion) from

commencing, prosecuting, pursuing or maintaining in any court or forum other than the Court

any claim, action or other proceeding that challenges or seeks review of or relief from any order,

judgment, act, decision or ruling of the Court in connection with this Settlement Agreement or

otherwise in connection with this Action.

       C.      Notice to Class Members and Potential Class Members; Responses to the Notice.

               1.     The Court will appoint a Claims Administrator (mutually agreed upon by

the Parties) as the Claims Administrator to perform the following tasks, among others:

               a.     Distribute Preliminary and Final Notice to Class Members and potential
                      Class Members;

               b.     Receive and forward to Class Counsel and Defendant any Objections or
                      Opt-Out Requests from Class Members or potential Class Members;

               c.     Maintain a website on which the Settlement Agreement, Class Notices,
                      blank Claim Forms, related Court Orders, and other documents and
                      content approved by Class Counsel for posting on this website are
                      available to Class Members and potential Class Members, and a secure
                      portal through which Settlement Class Members, following Final
                      Approval of the Settlement, can electronically submit Claim Forms and
                      other documents in a confidential and private manner;

               d.     Distribute and receive Claim Forms and other documents in a confidential
                      manner, including correspondence with and from the Neutral
                      Administrator; and

               e.     Properly process the Monetary Awards and Supplemental Monetary
                      Awards (collectively, the “Awards”), including for tax purposes as
                      directed in Section VII below.

               2.     Defendant will identify all Class Members who self-identified as African-

American and/or Black, and all potential Class Members who self-identified in the EEO category

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“Two or More Races (Not Hispanic or Latino)”, and will provide to the Claims Administrator in

electronic format, within fifteen (15) days after the Preliminary Approval Date of this Settlement

Agreement, the name, relevant personnel information, and last known address of each Class

Member and potential Class Member. In the event a Class Member or potential Class Member’s

Notice is returned as undeliverable, Defendant will provide to the Claims Administrator in

electronic format, within five (5) business days of Defendant being notified of the undeliverable

Notice, the Class Member or potential Class Member’s social security number and last known

phone number. The Claims Administrator shall utilize the Class Member’s and potential Class

Member’s social security numbers and last known telephone number for purposes of obtaining a

correct address for the Class Member or potential Class Member. The Claims Administrator

shall otherwise keep confidential and shall not disclose the contact information and social

security numbers to any other person or entity, including Class Counsel.

               3.     Within ten (10) business days after receiving the Class Member and

potential Class Member information from Defendant, the Claims Administrator will mail the

Notice to each Class Member and potential Class Member in the form agreed upon by Counsel

for the Parties or such other form as approved by the Court.

               4.     If Final Approval is granted, the Claims Administrator shall mail Claim

Forms to each Class Member at the same time the Final Notice is sent and make the Claim

Forms available electronically on a website accessible to Class Members maintained by the

Claims Administrator. Settlement Class Members will be able to view and access their

individual Claim Forms electronically on the website maintained by the Claims Administrator

and may submit them through a secure, non-public portal in a confidential and private manner.




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                 5.    In order to provide the best notice practicable, before mailing the Notice

and Claim Forms, the Claims Administrator will run the list of all Class Members and potential

Class Members through the United States Postal Service’s National Change of Address database

(“NCOA”).

                 6.    If envelopes from the mailing of the Notice and Claim Forms are returned

with forwarding addresses, the Claims Administrator will re-mail the Notice and Claim Forms to

the new addresses within three (3) business days.

                 7.    In the event that a Notice and Claim Form are returned to the Claims

Administrator by the United States Postal Service because the address of the recipient is no

longer valid, i.e., the envelope is marked “Return to Sender,” the Claims Administrator shall

perform a standard skip trace in an effort to ascertain the current address of the particular Class

Member or potential Class Member in question, and, if such an address is ascertained, the Claims

Administrator will re-send the Notice and Claim Form within three (3) business days of

receiving the newly ascertained address; if no updated address is obtained for that Class Member

or potential Class Member, the Notice and Claim Form shall be sent again to the Class Member’s

or potential Class Member’s last known address. In either event, the duty of the Parties and

Claims Administrator to deliver the Notice and Claim Form shall be deemed satisfied once it is

mailed for the second time.

                 8.    The Claims Administrator may engage third party vendors in order to

locate Class Members and potential Class Members whose Notice has been returned as

undeliverable.

                 9.    If the Court approves the Settlement at the Fairness Hearing, the Claims

Administrator shall mail the Notice of Final Approval of Settlement Agreement within ten (10)



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business days of the conclusion of the Fairness Hearing to each Settlement Class Member who

did not opt out of the class.

                10.     The Claims Administrator will maintain a log of all of its activities

undertaken pursuant to Sections IV and VII.

        D.      Objections.

                1.      Class Member objections to this Settlement Agreement must be in writing,

signed, and submitted to the Claims Administrator (with copies served on the Parties’ counsel),

must include a detailed description of the basis of the objection, and must indicate whether the

Settlement Class Member intends to appear at the Fairness Hearing. To be timely and

considered by the Court, objections must be received within forty-five (45) days after Notice is

mailed to Class Members.

                2.      The Claims Administrator shall provide counsel for both parties all

objections it receives from Class Members.

                3.      Only Settlement Class Members who timely submit and serve their signed,

written objections and state in writing their intent to appear at the Fairness Hearing may appear

at the Fairness Hearing. No one may appear at the Fairness Hearing for the purpose of objecting

to the Settlement Agreement without first having submitted and served their written objection(s)

within forty-five (45) days after the Notice was mailed to Class Members.

                4.      Class Counsel will file with the Court all timely submitted and served

objections with the Motion for Final Approval.

        E.      Exclusions/Opt-Outs.

                1.      Any Class Member who wishes to opt out of the Class must mail to the

Claims Administrator a written, signed statement that he or she is opting out. Opt-Out Requests

must be received within forty-five (45) days after Notice is mailed to Class Members. Class

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Counsel shall file with the Court all timely Opt-Out Requests. The Settlement Class will not

include those individuals who timely submit an Opt-Out Request, and individuals who opt out

are not entitled to any Award under this Settlement Agreement. The Notice shall include the

following language: “Any Class Member who wishes to opt out must mail a written, signed

statement that he/she is opting out of the Settlement to the Claims Administrator, at the address

listed above. To be effective, this opt out statement must be received on or before [forty-five

(45) days after the Notice is scheduled to be mailed to Class Members.]” To be effective, the

Opt-Out Request must include the language specified in the Notice confirming that the

individual is aware that by opting out he or she will forego the opportunity to receive monetary

benefits from this Settlement. Class Members who have timely and properly opted out of the

Settlement Class as set forth in this Paragraph may not participate in the Fairness Hearing. The

Claims Administrator shall determine whether a Class Member has timely and properly opted

out of the Settlement Class.

               2.      Class Members who file Opt-Out Requests may rescind their Opt-Out

Request. To be effective, such rescissions must be in writing and must be received by the

Claims Administrator at least one day before the Fairness Hearing.

       F.      Fairness Hearing.

               1.      Upon Preliminary Approval, a briefing schedule and Fairness Hearing date

will be set at the Court’s convenience. The Plaintiffs’ Motion for Final Approval will be due no

earlier than thirty (30) days following the close of the objection and opt-out period, and the

Fairness Hearing will be held no earlier than forty-five (45) days following the close of the

objection and opt-out period. Neither this Settlement Agreement nor the Court’s Preliminary or

Final Approval hereof shall be admissible in any court regarding the propriety of class



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certification or regarding any other issue or subject (except for the purpose of enforcing this

Settlement Agreement).

               2.      The time periods referenced in this Section IV are guidelines; actual dates

will be determined by the Court.

               3.      In the event that this Settlement Agreement does not become final and

binding, no party shall be deemed to have waived any claims, objections, rights or defenses, or

legal arguments or positions, including, but not limited to, claims or objections to class

certification, and claims and defenses on the merits. Each party reserves the right to prosecute or

defend this Action in the event that the Settlement Agreement does not become final and

binding.

               4.      If this Settlement Agreement is not approved by the Court or for any other

reason is terminated or fails to become effective in accordance with its terms (or if, following

approval by this Court, such approval is reversed or substantively modified), the Parties shall be

restored to their respective positions that existed in this Action prior to entering into this

Settlement Agreement; the terms and provisions of this Settlement Agreement shall have no

force or effect and shall not be used in this Action or in any proceeding for any purpose; the

Settlement Fund shall be returned to Defendant, including any interest earned through the date of

termination (after deducting all costs and expenses, including costs of providing Notice to Class

Members, and all costs paid or incurred by the Claims Administrator, the Neutral Administrator,

or the Neutrals as of the date of termination); any Judgment entered by the Court in accordance

with the terms of this Settlement Agreement shall be treated as vacated, nunc pro tunc; and the

litigation of the Action will resume as if there had been no Settlement Agreement, with no

stipulated Class. The Parties retain all rights, claims, and defenses as to class certification and



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otherwise as to any of the allegations asserted in this Action. This Settlement Agreement will

not be considered an admission of liability or damages by Defendant or represent a cap on

damages available to the Named Plaintiffs or the Class.

      G.       Defendant’s Right to Withdraw from the Agreement Based On the Opt-Out
Requests.

               1.      If the number of Class Members who have submitted Opt-Out Requests in

the manner provided for herein equals or exceeds the percentage of the total number of Class

Members who receive Notice (disclosed in Exhibit A, filed under seal), Defendant shall have the

right, for thirty (30) days after the deadline for Class Members to opt out, to withdraw from and

fully terminate the Settlement Agreement by providing written notice to Class Counsel and the

Court.

               2.      In the event that Defendant withdraws from this Settlement Agreement or

in the event that this Settlement Agreement is reversed on appeal or is otherwise rendered null

and void for any reason, the Claims Administrator shall have the obligation to return the entire

Settlement Fund (including all income and/or interest, but after deducting all costs and expenses

paid or incurred by the Claims Administrator as of the date of the withdrawal, including costs of

providing Notice to Class Members) to Defendant within five (5) business days.

V.       RELEASE/BAR OF CLAIMS

               A.      All Settlement Class Members who do not timely opt out of this

Settlement will irrevocably and forever release all Released Claims as defined in

Section III(A)(39) above. Settlement Class Members who fail to timely opt out (including their

heirs, administrators, representatives, executors, successors, and assigns) expressly waive any

and all provisions, rights and benefits conferred under or by any law of any state or territory of




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the United States, or principle of common law, which is similar, comparable, or equivalent to,

Cal. Civ. Code § 1542, which provides:

        A general release does not extend to claims which the creditor does not know or suspect
       to exist in his or her favor at the time of executing the release, which if known by him or
       her must have materially affected his or her settlement with the debtor.

               B.      All Named Plaintiffs, as a condition of receiving a service award in

conjunction with this Settlement Agreement, will be required to execute and deliver to the

Claims Administrator a Named Plaintiff Release in the form agreed to by counsel for the parties

and attached hereto as Exhibit E. The Named Plaintiff Release is more expansive than the

limited Class Member Release. It releases all of the Named Plaintiffs’ individual claims and is a

general release of all claims of any nature against Defendant under federal, state, and local laws

for any period up through the date that the Named Plaintiff signs the Named Plaintiff Release.

               C.      The Claims Administrator shall provide all Named Plaintiffs with the

Named Plaintiff Release at the time the Notice is provided to them.

               D.      The terms of the Releases, set forth in Section III(A)(39) above for

Settlement Class Members and in Exhibit E for the Named Plaintiffs, are a material part of this

Settlement Agreement and are hereby incorporated as if fully set forth in the Settlement

Agreement; if these Releases, set forth in Section III(A)(39) above for Settlement Class

Members and in Exhibit E for the Named Plaintiffs, are not finally approved by the Court, or the

Settlement Agreement cannot become effective for any reason and the Settlement set forth in

this Settlement Agreement terminates as provided in Section IX of this Settlement Agreement,

then the Releases shall terminate nunc pro tunc and be of no force and effect.

               E.      Any Named Plaintiff who does not execute and timely deliver a Named

Plaintiff Release shall be ineligible for, and forever barred from receiving a Service Award

under this Settlement Agreement, even if said Named Plaintiff has not opted out. Class
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Members who do not opt out shall, upon the Effective Date, be deemed to have fully, finally and

irrevocably waived, released and discharged Defendant from the Released Claims. 

VI.      PROGRAMMATIC RELIEF

         A.     Duration of the Settlement. The Programmatic Relief set forth in this Settlement

Agreement shall remain binding on the Parties and their agents and successors for three (3) years

following the Effective Date (the “Programmatic Relief Period”).

         B.    Branch Assignment Review. Defendant shall commission a privileged and

confidential review of the branch assignment process for Advisors. The review will analyze the

potential correlation between an Advisor’s branch(es) assignment and performance, and examine

factors such as branch demographics; branch and personnel designations; data regarding the net

worth of the clientele and market, and other branch and territory metrics; assignment of leads,

referrals and client accounts to Advisors; and the assignment of Licensed/Private Client Bankers

to the Advisors’ branches. The results of this review, and any work product prepared in

connection therewith, shall be considered privileged and confidential and shall be protected from

disclosure to the fullest extent permissible. The results of the review shall not be shared with

Class Counsel, and shall be protected from disclosure to third parties.

         C.    Meetings.

               1.      No later than one hundred twenty (120) days after the Final Approval

Date, Defendant’s Senior management will select one African American and/or Black Financial

Advisor and one African American and/or Black Private Client Advisor from each of the five

Divisions (Greater West, California, Southern, Midwest and Northeast) and the Head of Chase

Wealth Management or his or her delegate will select Division Directors to participate in one in-

person meeting and two meetings by telephone or videoconference each year during the



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Programmatic Relief period to explore ideas and initiatives designed with the objective of

increasing the number of African American and Black Advisors and increasing African

American and Black Advisor productivity and retention.

               2.      A Project Manager selected by the Head of Chase Wealth Management or

his or her delegate shall chair each meeting. The Project Manager will be charged with

scheduling meetings and directing discussion at the meetings.

               3.      The Head of Chase Wealth Management or his or her delegate will

sponsor the meetings and will receive periodic reports from the Project Manager.

       D.      Advisor Coaching.

               1.      No later than one hundred twenty (120) days after the Final Approval

Date, Defendant will make coaching and training available to African American and Black

Advisors through the Advancing Black Leaders program (the ‘Coaching Program’). Through the

Coaching Program, each African American and Black Advisor shall have the opportunity to

attend instructor-led sessions focusing on core competencies, including career management,

relationship management and navigating the firm. The costs of the Coaching Program shall be

funded by the Diversity and Reserve Fund.

       E.      Recruiting.

               1.      No later than one hundred twenty (120) days after the Final Approval

Date, Defendant will engage a dedicated resource to develop initiatives designed to increase the

recruitment of African American and Black Advisors.

               2.      Upon receiving a conditional offer for an open Advisor position,

applicants shall be provided data regarding the branch from which they have received an offer

that will consist of: (i) the number of clients serviced by the branch, (ii) the branch’s deposits,

(iii) the number of affluent households serviced by the branch, (iv) the number of Bankers and
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Advisors in the branch, and (v) the net new money levels of the branch’s current Advisor(s) from

the prior twelve months. If the branch from which the applicant has received an offer does not

have a current Advisor, the applicant will be provided with the net new money levels of previous

Advisors.

        F.      Management Training and Assessment.

                1.     No later than one hundred twenty (120) days after the Final Approval

 Date, Defendant will hold online diversity training for all Market Directors, which will include

 training on the concepts of implicit bias and racial stereotyping. Newly-hired or assigned

 Market Directors will receive online diversity training within ninety (90) days of their hire or

 assignment. Market Directors will be required to attest that they have completed the online

 diversity training and their attestations will be recorded by Chase.

                2.     Defendant will continue to include Managers’ diversity efforts as a

component in Defendant’s assessment of manager performance.

        G.      Management Selection.

                1.     No later than one hundred twenty days (120) after the Final Approval

Date, and on an annual basis thereafter, Defendant will hold regional information meetings for

all Advisors to explain the managerial selection process and qualifications, including that all

candidates must have the required regulatory licenses. On an annual basis, Defendant shall send

an email to all Advisors who self-identify in the EEO category “Black or African American”

identifying the management coaching and training opportunities available to African American

and Black Advisors.

                2.     Defendant agrees to post all open positions on Defendant’s internal job

posting site.



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               3.     Coaching regarding the management selection process will be made

available to all African American and Black candidates.


       H.      Exit Surveys.

               1.     Defendant will offer to conduct voluntary exit surveys with all departing

African American and Black Advisors and share a summary of these interviews with the Chase

personnel identified in Paragraphs VI(C)(2) and VI(C)(3).

       I.      Diversity and Reserve Fund.

               1.     No later than one hundred twenty (120) days after Final Approval,

Defendant will establish a Diversity and Reserve Fund to fund Diversity Programs and Initiatives

and make the payments described in this Section.

               2.     All Supplemental Monetary Awards and Administrative Costs shall be

paid from the Diversity and Reserve Fund.

               3.     Defendant shall initially set aside One Million Five Hundred Thousand

Dollars (“$1,500,000”) of the Diversity and Reserve Fund for Diversity Programs and Initiatives.

Defendant will determine the annual amount of the Diversity and Reserve Fund to spend on such

Diversity Programs and Initiatives. The total amount of the Diversity and Reserve Fund during

the Programmatic Relief Period shall be no more than Four Million Five Hundred Thousand

Dollars ($4,500,000), in the aggregate over the Programmatic Relief Period.

               4.     Defendant may establish appropriate rules concerning the use of the

Diversity and Reserve Fund for Diversity Programs and Initiatives.

               5.     As used in this Settlement Stipulation, “Diversity Programs and

Initiatives” refer to any program, study, project, or other expenditure by the Defendant, including

those recommended as a result of the meetings described in Section VI(C) that have been


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approved by the Head of Chase Wealth Management, which has as at least one of its primary

goals:

               a.      Promoting equal employment opportunity for all persons regardless of
                       race; or

               b.      Providing education concerning any form of racial discrimination,
                       harassment, or related retaliation; or

               c.      Preventing or remedying any form of racial workplace harassment,
                       discrimination, or related retaliation; or

               d.      Fostering recruitment or mentoring of, or employment advancement or
                       promotion opportunities for African Americans at Defendant.

         J.    Commitment to Diversity.

               1.      Defendant reaffirms its commitment to the prohibition against

discrimination on the basis of race, with respect to compensation, business opportunities, and

other terms and conditions of employment. Further, Defendant reaffirms its commitment to the

prohibition against retaliation for reporting race discrimination, participating in any internal

complaint process, participating in this or any discrimination settlement, filing a lawsuit or

complaint with any outside agency or entity alleging race discrimination, or for refusing to

participate in race discrimination.

         K.    Monitoring and Reporting.

               1.      On an annual basis, Defendant will meet with and report to Class Counsel

regarding Defendant’s compliance with the Programmatic Relief. Defendant will provide

information demonstrating the progress made with regard to the Programmatic Relief.

Defendant will also describe to Class Counsel any new programs or policies that were

implemented to increase the representation and success of African American and Black Advisors

and discuss the efficacy of those programs or policies.



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VII.   MONETARY RELIEF

       A.      Settlement Fund

               1.     No later than fifteen (15) business days after Preliminary Approval Date,

Defendant shall pay by wire transfer or otherwise transmit to the Qualified Settlement Fund

established by the Claims Administrator the Settlement Amount of Nineteen Million Five

Hundred Thousand Dollars ($19,500,000). Defendant shall pay or transmit Three Million

Dollars ($3,000,000.00) from the Diversity and Reserve Fund to the Qualified Settlement Fund

established by the Claims Administrator. These payments are made in order to satisfy the claims

of all Named Plaintiffs and Class Members, as well as for other purposes identified in this

Settlement Agreement. The Settlement Amount, Diversity and Reserve Fund, and the

employer’s share of payroll taxes and withholdings in connection with monetary awards to the

Settlement Class Members and Service Awards, if any, shall constitute the total monetary outlay

by Defendant with respect to: (a) the resolution of this matter; (b) this Settlement Agreement

(and attachments); and (c) the dismissal of this Action.

               2.     The Settlement Amount and Diversity and Reserve Fund are inclusive of

payment for:

                      a.      All Monetary Awards and Supplemental Monetary Awards paid to

Class Members and potential Class Members, including Named Plaintiffs, which are to be

distributed pursuant to Sections VII(C) and VII(G) below;

                      b.      All attorneys’ fees and costs awarded by the Court to Class

Counsel, including those relating to securing court approval of the Settlement, the claims process

and monitoring of the Settlement Agreement, as described in Section VIII(A) below;

                      c.      All Service Awards to Named Plaintiffs, pursuant to Section

VIII(B) below;
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                      d.      All Administrative Costs; and

                      e.      Applicable federal, state, and local income taxes, including the

employee’s portion of applicable payroll taxes (e.g., FUTA, SUTA, FICA and Medicare), other

than the employer’s share of payroll taxes, which Defendant will bear in addition to the

Settlement Amount (see Section III(A)(43)).

       B.      Administration of Settlement Fund.

               The Settlement Fund will be placed in an account titled in the name of CWM

Financial Advisors Settlement Fund, a Qualified Settlement Fund, intended by the Parties to be a

“Qualified Settlement Fund” as described in Section 468B of the Internal Revenue Code of 1986,

as amended, and Treas. Reg. Section 1.468B-1, et seq.

       C.      Claims Filing Procedures for Settlement of Claims of Named Plaintiffs and

Settlement Class Members.

               1.     Claims Filing Procedures for Obtaining Monetary Relief. All Settlement

Class Members, including the Named Plaintiffs, may be eligible to receive a Monetary Award

from the Settlement Fund or a Supplemental Monetary Award from the Diversity and Reserve

Fund. All Settlement Class Members, including the Named Plaintiffs, who seek to claim a

Monetary Award from the Settlement Fund or a Supplemental Monetary Award from the

Diversity and Reserve Fund must do so in writing or via secure electronic submission and by

signing or electronically affirming, under penalty of perjury, and submitting to the Claims

Administrator, either a Simple Claim Form or a Detailed Claim Form, as described more fully

below, which must be electronically submitted or received by the Claims Administrator by the

date set by the Court (“Claims Submission Date”). Settlement Class Members shall complete

either the Simple Claim Form or the Detailed Claim Form in its entirety to the extent applicable



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and in accordance with the procedures and requirements set forth on the Simple Claim Form or

Detailed Claim Form. Class Members who file either a Simple Claim Form or Detailed Claim

Form must notify the Claims Administrator of any change of address. A failure to notify the

Claims Administrator of a change of address may result in the forfeiture of an Award.

       The Simple Claim Form and Detailed Claim Form shall be mailed to Settlement Class

Members and be available electronically on a website maintained by the Claims Administrator

following Final Approval of the Settlement. Settlement Class Members will be able to view,

access, and submit their Simple Claim Forms and Detailed Claim Forms electronically on the

website maintained by the Claims Administrator.

               2.     Claim Form and Monetary Award Options. Settlement Class Members,

including Named Plaintiffs, who seek to claim a Monetary Award or Supplemental Monetary

Award must elect to submit either a (1) Simple Claim Form if they desire an expedited financial

payment without an individual assessment of their alleged claims and losses, or (2) a Detailed

Claim Form if they want the option of an individual assessment of their alleged claims and losses

by qualified, independent Neutrals (the “Neutrals”) as part of the Individual Claims Resolution

Program (“ICRP”).

       Any Settlement Class Member who fails to timely file either a Simple Claim Form or a

Detailed Claim Form shall not receive a Monetary Award or Supplemental Monetary Award.

               3.     Simple Claim Form and Expedited Monetary Awards. Settlement Class

Members who elect to submit the Simple Claim Form will be issued a Monetary Award or

Supplemental Monetary Award check within forty-five (45) days of the Claims Submission Date

(“Expedited Monetary Award”). Settlement Class Members who submit the Simple Claim

Form, however, will not have their claims or alleged losses individually assessed as part of the



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ICRP. Expedited Monetary Awards will be determined and awarded based on the individual’s

length of service at Chase and time spent in a Covered Position within the Class Period.

Expedited Monetary Awards are not based on an individualized assessment of any Settlement

Class Member’s claims or consideration of emotional distress or post-termination wage loss.

Expedited Monetary Awards will be determined by the Neutral Administrator after all Claim

Forms are submitted. The Neutral Administrator’s determination of Expedited Monetary

Awards shall be final, binding, and non-appealable.

               4.      Detailed Claim Form and the Individual Claims Resolution Program.

Settlement Class Members who wish to have the option of rejecting an Expedited Monetary

Award in favor of an individualized assessment of their alleged claims and losses must submit a

Detailed Claim Form to the Claims Administrator by the Claims Submission Date. The Detailed

Claim Form shall be completed in its entirety, including responses to questions seeking evidence

of alleged: (a) race discrimination, (b) financial losses, and (c) any emotional distress. In order

to seek financial recovery for any period after the Settlement Class Member’s employment with

Defendant, the Settlement Class Members must submit qualified documentary evidence of post-

Chase income and work history. In order to seek financial recovery for alleged emotional

distress, Class Members must complete the section of the Claim Form regarding emotional

distress and may submit any additional documentation they deem appropriate.

               5.      No later than forty-five (45) days after the Claims Submission Date, all

Settlement Class Members who timely submit completed Detailed Claim Forms will receive

notice of the amount of their Expedited Monetary Award along with an election form (the

“Election Form”) setting forth two options from which each such Settlement Class Member must

elect either (1) accepting the Expedited Monetary Award, or (2) participating in the ICRP. The



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Election Form must be signed and identify whether the Settlement Class Member is accepting

the Expedited Monetary Award or electing to participate in the ICRP, and must be received, or

submitted electronically, within 14 days of the date on the Election Form. The Election Form

may also be completed online and signed electronically. The electronic submission is complete

only when the Settlement Class Member receives an online confirmation number.

       If the Settlement Class Member elects to accept the Expedited Monetary Award, a check

in the amount of the Expedited Monetary Award will be sent to the Settlement Class Member

within twenty-one (21) days after the Claims Administrator receives the Election Form and all

required income tax documents.

       If the Settlement Class Member rejects the Expedited Monetary Award, he or she will

participate in the ICRP and have his or her claims reviewed and evaluated by one or more

Neutrals from a panel of qualified Neutrals. The amount awarded by the Neutral(s) may be more

or less than the Expedited Monetary Award.

                      a.      The potential Neutrals identified by Class Counsel and selected by

the Neutral Administrator to serve on the panel of qualified Neutrals will have substantial

training and experience with employment discrimination claims.

                      b.      Defendant will provide the Neutrals, the Neutral Administrator and

Class Counsel with copies of Defendant’s policies and procedures relating to Advisors.

                      c.      Defendant will provide the Neutrals and the Neutral Administrator

with a list of all Class Members and potential Class Members who have released or extinguished

some or all of their potential claims and copies of the agreements and/or materials through which

the Class Members and potential Class Members released or extinguished some or all of their




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potential claims. The list, agreements and materials shall not be shared with Class Counsel, and

shall be protected from disclosure to third parties.

                       d.      The Neutrals and the Neutral Administrator may, but are not

required to, request information from Defendant regarding a Class Member. Defendant will

provide sufficient information to establish whether someone is a member of the Class.

                       e.      Each Settlement Class Member who participates in the ICRP will

also have an opportunity to meet with a Neutral for up to a 75-minute session in order to present

aspects of his or her claims and answer questions from the Neutral(s) (the “Interview”). The

Interview can take place via an Internet video-conference or in person at the Chicago offices of

Class Counsel. Settlement Class Members who wish to attend the Interview in person but cannot

afford to travel to the Interview can submit a request for a travel advance against any Monetary

Award or Supplemental Monetary Award. Class Counsel shall ensure that an attorney is present

at each Interview to assist Settlement Class Members. Nothing in this Settlement prohibits any

Settlement Class Member from retaining his or her own attorney, at his or her own expense, and

the Neutral(s) may consider any attorneys’ fees incurred. The Neutrals, Neutral Administrator,

and all parties appearing at the Interview must agree to confidentiality, and separately retained

attorneys must sign a protective order agreed to by the Settling Parties.

                       f.      Any Class Member shall also be entitled to have his or her claim

resolved based solely on the written claim form submitted if he or she prefers.

               6.      Neutral Evaluation of Claims in the ICRP. In evaluating individual

claims, the Neutral(s) shall consider information presented in the Detailed Claim Form

(including any supporting documents) and during the Interview and then recommend an

individual award for each Settlement Class Member who participates in the ICRP. Factors and



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evidence the Neutral(s) and Neutral Administrator may weigh include, but are not limited to, the

following:

                       a.      Length of service in the industry and at Chase;

                       b.      Duration of Chase employment within the Class Period;

                       c.      Whether the Settlement Class Member was a lateral or recruit from

another company and, if so, whether the Settlement Class Member brought over a book of

business;

                       d.      The Settlement Class Member’s alleged experiences with regard to

the assignment of territory and banks; the assignment of resources such as licensed bankers; the

assignment of leads and referrals; account transfers and distributions; participation in

Defendant’s programs; business opportunities; managerial support; office environments; and

other alleged treatment;

                       e.      Whether the Settlement Class Member made a formal or informal

complaint of race discrimination, and if so, whether the class member alleged retaliation as a

result;

                       f.      Whether the Settlement Class Member released some but not all of

his or her potential claims and, if so, the date of any such release of claims;

                       g.      Any alleged emotional distress, and whether any treatment was

sought or received for such alleged distress;

                       h.      Any alleged career or reputational harm;

                       i.      Any alleged lost opportunities and financial losses;

                       j.      Any alleged lost future earnings;




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                      k.      Expenses, including attorneys’ fees, incurred by Settlement Class

Members in prosecuting Released Claims;

                      l.      Mitigation and post-Chase earnings; and

                      m.      Such other factors as the Neutrals and Neutral Administrator agree

upon.

          D.   The Neutral Administrator

               1.     The Parties have agreed upon Lynn Cohn as the individual to be appointed

by the Court to serve as the Neutral Administrator under Federal Rule of Civil Procedure 53 to

monitor and assist with the Settlement.

               2.     The Parties jointly prepared a proposed order appointing the Neutral

Administrator, attached hereto as Exhibit F. The proposed order shall state the name of the

Neutral Administrator agreed upon by the Parties and shall describe the Neutral Administrator’s

duties.

               3.     The Neutral Administrator shall participate in some of the Interviews and

assessment of claims in the ICRP; train the Neutrals in the ICRP; make reports to Class Counsel

and the Court as necessary; negotiate, review, and approve any payments, contracts, the bills of

the Neutrals, and the bills of experts performing services for the Neutral Administrator in the

settlement process; decide whether to accept any late claim forms for good cause shown; and

decide whether individuals who are not included on the Settlement Class list qualify for

Settlement Class membership.

               4.     The Neutral Administrator shall determine all of the Expedited Monetary

Awards and review and approve the Monetary Awards and Supplemental Monetary Awards

proposed by the Neutrals in the ICRP for consistency and fairness. The Neutral Administrator



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shall render a final determination as to the Monetary Award or Supplemental Monetary Award,

if any, which should be paid to each Claimant in the ICRP. There shall be no appeal from the

final Monetary Awards or Supplemental Monetary Awards approved by the Neutral

Administrator, which shall be final and binding.

               5.      The Neutral Administrator will also establish, for tax purposes, the

allocation of Monetary Awards and Supplemental Monetary Awards to wage and non-wage

income or other tax character as appropriate based on the principles set forth in the IRS

Regulations. After determining the proposed allocation, the Neutral Administrator shall prepare

a master report of all Expedited Monetary Awards and all Awards from the ICRP and provide it

to the Claims Administrator for payment.

       E.      Award Parameters.

               1.      Class Members and potential Class Members who have released or

extinguished their claims shall not be eligible for an Award, unless the Neutral Administrator

expressly determines that they are eligible for an Award for good cause shown. In connection

with any such application by, or on behalf of, a Class Member who has released or extinguished

their claims, Defendant shall have the opportunity to respond prior to the Neutral Administrator’s

eligibility determination.

               2.      The total amount of the Monetary Awards shall equal, but not exceed the

Net Settlement Amount.

               3.      The total amount of the Supplemental Monetary Awards shall not exceed

the Net Diversity and Reserve Fund.

               4.      The Neutral Administrator shall prepare a master report of Awards

(including tax allocations thereof) and provide it to the Claims Administrator for payment.



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               5.     There shall be no appeal from the final Monetary Awards or Supplemental

Monetary Awards determined by the Neutral Administrator.

       F.      Confidentiality of Claims Resolution Process and Settlement Administration.

Before receiving any Confidential or Confidential-Attorneys’ Eyes Only Information, the Claims

Administrator, Neutrals, Neutral Administrator and any other third party involved in the claims

process or the administration of this Settlement Agreement must sign a confidentiality agreement

in a form agreed to by the Parties. Claim Forms completed by Class Members, information

submitted by Class Members, the Interviews with the Neutrals, and all other aspects of the

Claims Resolution Process will be confidential. No information in the Claim Forms or stated

during an Interview shall be disclosed to Defendant, who shall take no part in the determination

of the Awards to Settlement Class Members.

       G.      Distribution of Awards.

               1.     Within twenty (20) business days after the Neutral Administrator has

approved Awards to each Claimant in the ICRP, the Claims Administrator shall send a Notice of

Award to each eligible Claimant indicating the amount, if any, of the Award approved by the

Neutral Administrator for that Claimant, along with a check with their individual Award amount.

The face of each such check shall clearly state that the check must be cashed within four (4)

months. The back of each such check to Claimants will state: “By negotiating this check and

accepting payment I agree that I have waived and released the Released Parties from all Released

Claims as defined in the Settlement Agreement and in the Notice in this matter. The Release will

become effective on the Effective Date.”

               2.     Any undistributed funds that remain one year after the mailing of the

Notice of Award due to un-submitted Named Plaintiff Releases and/or due to uncashed checks



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shall be incorporated into the Diversity and Reserve Fund for use in Diversity Programs and

Initiatives, as described in Section VI. The Parties hereby agree that such funds represent

settlement payments for matters disputed in good faith, and they shall not be subject to escheat

rules, cy pres, or other distribution not provided for in this Settlement Agreement.

               3.      The Claims Administrator shall provide Defendant’s Counsel with copies

of all executed Named Plaintiff Releases within twenty (20) business days after the expiration of

the deadline for the return of executed Named Plaintiff Releases. The Claims Administrator

shall also retain for seven (7) years copies of Award checks negotiated by Claimants and make

them available to Defendant upon notice to Class Counsel of good cause –i.e., that the particular

individual(s) for whom Defendant seeks this information has asserted a claim in violation of the

Class Member Release, Named Plaintiff Release, or has threatened to assert such a claim.

       H.      Non-Admissibility of Fact of Award or Non-Award. Except to the extent that it

would constitute a set-off in an action for damages claimed for any period covered by this

Settlement, neither the fact nor the amount of an Award, nor the fact of any non-award, from the

Settlement Fund shall be admissible in any other proceeding for any purpose other than to

enforce the Class Member Release or Named Plaintiff Release, nor shall it be deemed to be a

finding as to the merits of any claim.

       I.      Confidentiality Regarding Amount of Award. All Claimants receiving Awards

will be required to keep the amount of their Award confidential, except that they may disclose

the amount to immediate family, legal counsel, or tax advisors, or as otherwise required by law.

For the avoidance of doubt, it shall not be a violation of this provision for a Claimant to deposit

his or her Award check in a Chase bank or investment account. In the event of a breach of this




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paragraph, Defendant may initiate an action in a court of appropriate jurisdiction and, in any

such successful action, may be entitled to recover up to the full amount of the Award.

       J.      Tax Treatment

               1.      Qualified Tax Status and Tax Responsibilities. The Settlement Fund shall

be established as a Qualified Settlement Fund within the meaning of Section 468B of the Internal

Revenue Code of 1986, as amended, and Treas. Reg. Section 1.468B-1, et seq., and shall be

administered by the Claims Administrator and Neutral Administrator under the Court’s

supervision. The Parties shall cooperate to ensure such treatment and shall not take a position in

any filing or before any tax authority inconsistent with such treatment.

               2.      Payment of Federal, State, and Local Taxes. The Parties recognize that the

awards to eligible Claimants will be subject to applicable tax withholding and reporting, which

will be handled as follows:

                       a.      The Claims Administrator shall serve as trustee of the portion of

the Settlement Fund devoted to paying claims (“Claims Fund”) and shall act as a fiduciary with

respect to the handling, management, and distribution of the claims, including the handling of

tax-related issues and payments. Specifically, the Claims Administrator shall be responsible for

withholding, remitting, and reporting of the Claimants’ share of payroll taxes from the

Settlement Fund, and Defendant shall be responsible for the employer’s share of payroll taxes as

set forth in this Section (b) below.

                       b.      The Claims Administrator shall inform Defendant in writing of the

employer’s share of all taxes or contributions (i.e., FUTA, SUTA, FICA and Medicare) required

to be paid by Defendant. Defendant shall, within twenty (20) business days of such notice, remit

all such payments to the Claims Administrator for payment to appropriate taxing authorities



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(“Employer Payroll Tax Payment”). The money paid by Defendant under this paragraph shall

not be deducted from the Settlement Fund or Diversity and Reserve Fund. Defendant shall have

no obligation to pay the employer’s share of taxes and contributions pertaining to any Class

Members who opt out and therefore receive no Award.

                       c.     The Neutral Administrator will establish and provide to the Claims

Administrator, for tax purposes, the allocation of Awards to wage and non-wage income or other

tax character as is appropriate based on the principles set forth in the IRS Regulations.

                       d.     The Claims Administrator shall be responsible for the timely

reporting and remitting of the Employer Payroll Tax Payment to the appropriate taxing

authorities and shall indemnify Defendant for any and all penalties and interest relating to such

tax payments, including those arising out of an incorrect calculation and/or late payment of the

correct taxes.

                       e.     Subject to the Claims Administrator’s obligation to comply with

applicable laws, the Parties anticipate that any amounts designated as non-wage income shall not

be subject to withholding and shall be reported, if required, to the IRS on Form 1099.

                       f.     Except with respect to the Employer Payroll Tax Payment, which

will be paid by Defendant, the Claims Administrator shall be responsible for satisfying from the

Claims Fund any and all federal, state and local employment and withholding taxes, including,

without limitation, federal and state income tax withholding, FICA, Medicare, and any state

employment taxes.

                       g.     The Claims Administrator shall satisfy all federal, state, local, and

other reporting requirements (including any applicable reporting with respect to attorneys’ fees

and other costs and expenses subject to reporting), and any and all taxes, penalties, and other



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obligations with respect to the payments or distributions from the Settlement Fund not otherwise

addressed herein.

                       h.      All (i) taxes (including any estimated taxes, interest or penalties)

arising with respect to the income earned by the Settlement Fund, including any taxes or tax

detriments that may be imposed on Defendant with respect to income earned for any period

during which the Settlement Fund does not qualify as a “Qualified Settlement Fund” for federal

and state income tax purposes (hereinafter “Settlement Fund Taxes”), and (ii) expenses and costs

incurred in connection with the operation and implementation of this Section (including, without

limitation, expenses of tax attorneys and/or accountants, mailing and distribution costs, and

expenses relating to filing (or failing to file) any returns described herein or otherwise required to

be filed pursuant to applicable authorities) (hereinafter “Settlement Fund Tax Expenses”), shall

be paid out of the Settlement Fund. The Parties hereto agree to cooperate with the Claims

Administrator, each other, and their tax attorneys and accountants to the extent reasonably

necessary to carry out the provisions set forth in this Section.

                       i.      Other than the withholding and reporting requirements set forth in

Section VII(J)(2)(a), Claimants shall be solely responsible for the reporting and payment of any

federal, state, and/or local income or other tax or any other withholdings, if any, on any of the

payments made pursuant to this Settlement Agreement. Defendant makes no representations and

it is understood and agreed that Defendant has made no representations as to the taxability of any

portions of the settlement payments to any Claimants, the payment of any cost or an award of

attorney fees, or any payments to the Named Plaintiffs. The Notice will advise Class Members

to seek their own tax advice prior to acting in response to the Notice, and the Named Plaintiffs




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and Class Counsel agree that Class Members will have an adequate opportunity to seek tax

advice prior to acting in response to the Notice.

       K.      Defendant Has No Further Obligation, Liability or Responsibility. Other than

Defendant’s responsibility for the employer’s share of payroll taxes as discussed in Sections

III(A)(43) and VII(J)(2), Defendant shall have no withholding, reporting, or any other tax

reporting or payment responsibilities with regard to the Settlement Fund or its distribution to

Settlement Class Members. Moreover, Defendant shall have no liability, obligation, or

responsibility for the administration of the Settlement Fund, the determination of any formulas

for disbursement, or the disbursement of any monies from the Settlement Fund except for (1) the

obligation to pay the $19.5 million into the Settlement Fund as described in Section VII(A)(l);

(2) the obligation related to the Diversity and Reserve Fund as set forth in Sections VII(A)(l) and

VI(I); (3) the obligation related to the Employer Payroll Tax Payment as set forth in Section

VII(J)(2); and (4) the agreement to cooperate in providing information necessary for Settlement

administration set forth herein. The Claims Administrator shall indemnify Defendant for any tax

liability, damages, or penalties arising out of their performance of any duties required by this

Settlement Agreement.

VIII. ATTORNEYS’ FEES AND EXPENSES OF CLASS COUNSEL AND SERVICE
      AWARDS TO NAMED PLAINTIFFS

       A.      As discussed in Section III(A)(43) above, all of Class Counsel’s fees and costs,

including those in connection with securing Court approval of this Settlement Agreement, the

Claims Process and any monitoring of this Settlement Agreement, shall be paid from the

Qualified Settlement Fund, following approval of those attorneys’ fees and costs by the Court.

Subject to approval by the Court, Class Counsel will seek attorneys’ fees of up to 24.44% of the

Qualified Settlement Fund, or $5,500,000.00, plus reimbursement of reasonable costs and


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expenses. Defendant shall not object to Class Counsel’s requests for fees and costs up to the

amounts stated herein.

         B.    The Named Plaintiffs have invested substantial time and effort in assisting Class

Counsel and serving as fiduciaries for the Settlement Class. As is standard in class litigation,

Class Counsel intends to petition the Court for Service Awards to Named Plaintiffs for their

efforts and service to the Settlement Class. Defendant shall not object to Plaintiffs’ motion for

Service Award payments up to an amount of $150,000 per Named Plaintiff. The Neutral

Administrator may consider the amount of a Named Plaintiff’s Service Award as part of the

evaluation of that Named Plaintiff’s claim in the ICRP.

IX.      TERMINATION OF SETTLEMENT

         A.    In the event that this Settlement Agreement is not approved in its entirety as is by

the Court, excluding modifications that Defendant determines in its reasonable and good faith

judgment not to be material modifications, or in the event that the Settlement set forth in this

Settlement Agreement is terminated, cancelled, declared void, or fails to become effective in

accordance with its terms, or if the Judgment does not become a Final Judgment, or if the

Effective Date does not occur, no payments shall be made by Defendant to anyone in accordance

with the terms of this Settlement Agreement, and the Parties will each bear their own costs and

fees with regard to the efforts to obtain Court approval. In such event, this Settlement

Agreement (except for this provision and those provisions relating to non-admissibility and non-

admission of liability set forth in Sections II(K), II(L) and IV(f)(4)) shall be deemed null and

void, its terms and provisions shall have no further force and effect with respect to the Parties

and shall not be used in the Action or in any other proceeding for any purpose. In such event,

Defendant does not waive, but rather expressly reserves, all rights to challenge any and all claims

and allegations asserted by the Named Plaintiffs in the Action upon all procedural and
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substantive grounds, including without limitation the ability to challenge class action treatment

on any grounds and to assert any and all other potential defenses or privileges. The Named

Plaintiffs and Class Counsel agree that Defendant retains and reserves these rights, and they

agree not to take a position to the contrary. The Named Plaintiffs and Class Counsel do not

waive, but rather expressly reserve, all rights to assert any claims and allegations and to

challenge any and all defenses thereto, upon all procedural and substantive grounds, and to seek

class action treatment of any and all of their claims. Defendant agrees that Named Plaintiffs and

Class Counsel retain and reserve these rights, and it agrees not to take a position to the contrary.

Notwithstanding any other provision of this Settlement Agreement, no order of the Court, or

modification or reversal on appeal of any order of the Court, reducing the amount of any

attorneys’ fees or costs to be paid to Class Counsel, or reducing the amount of any Service

Awards to be paid to any Named Plaintiff, shall constitute grounds for cancellation or

termination of this Settlement Agreement or grounds for limiting any other provision of the

Judgment.

X.      CONFIDENTIALITY

        A.     Confidentiality of Settlement Negotiations. Other than necessary disclosures

made to the Court, the content of the Parties’ settlement negotiations and all related information

shall be held confidential by Counsel for the Parties.

        B.     Documents and Information Produced by Defendant and Class Counsel. All

proprietary and confidential documents, data, or information that have previously been provided

to either Defendant or Class Counsel as of the date this Settlement Agreement is executed, or

which are produced by Defendant or Class Counsel pursuant to any provision of this Settlement

Agreement shall, unless otherwise agreed, be treated as, and thereafter remain, confidential. Said

documents and information shall not be disclosed to anyone other than the mediator or the Court
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in connection with any proceeding to enforce any provision of this Settlement Agreement, or as

otherwise provided in this Settlement Agreement. If such disclosure is deemed necessary by

Class Counsel or Defendant, Class Counsel or Defendant shall identify and disclose to the other

party such documents and information deemed necessary to disclose at least ten (10) business

days prior to filing such documents with any court, and, if a party so requests, shall seek

permission to file said documents with this Court under seal.

       C.         Return or Disposal of Confidential Documents and Information. All proprietary

and confidential documents or information that have previously been provided to Class Counsel

or to Defendant as of the date this Settlement Agreement is executed, or which are produced by

Defendant or Class Counsel pursuant to any provision of this Settlement Agreement, shall, upon

request, be destroyed or returned to counsel as follows:

                  1.     After the expiration of the three (3) year term of this Settlement

Agreement all proprietary and confidential documents or information provided to Class Counsel

or Defendant and designated “Confidential for Settlement Purposes Only” or similar designation

pursuant to the “Confidentiality Agreement for Settlement Discussions,” or that have been

produced in confidence pursuant to any provision of this Settlement Agreement, and all copies of

such documents or information other than those records and information required to be

maintained by law or the rules of professional responsibility, shall, upon request, be returned to

counsel for the producing party or be destroyed. Upon request, certification of such destruction

shall be provided to counsel for the producing party. This provision will not apply to any

information required to be maintained by any party’s counsel as part of the case file or under

applicable law or rules, including the applicable rules and guidelines of professional

responsibility.



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               2.      The preceding paragraph of this Section is intended to supersede those

provisions of the “Confidentiality Agreement for Settlement Discussions” earlier executed by

counsel for the parties that address the timing of the return or destruction of proprietary and

confidential documents or information provided to Class Counsel or Defendant. All other

provisions of the “Confidentiality Agreement for Settlement Discussions” remain in full effect.

               3.      Nothing in the preceding paragraphs of this Section shall preclude any

party from responding to a lawsuit discovery request, subpoena, or court order; provided,

however, that the party against whom such discovery is sought or such subpoena or order is

directed agrees to provide prompt notice and a copy of same to counsel for the other parties to

this Settlement Agreement. Nor shall anything in the preceding paragraphs preclude any party

from retaining attorney work product.

XI.      Miscellaneous Provisions

         A.    Governing Law. The Parties agree that federal law shall govern the validity,

construction, and enforcement of this Settlement Agreement. To the extent that it is determined

that the validity, construction, or enforcement of this Settlement Agreement, or the Named

Plaintiff Release thereunder pursuant to its terms, is governed by state law, the substantive law of

New York shall apply.

         B.    Entire Agreement. This Settlement Agreement, including the Exhibits hereto,

contains the entire agreement and understanding of the Parties with respect to the Settlement.

This Settlement Agreement does not impose any obligations on the Parties beyond the terms and

conditions stated herein. Accordingly, this Settlement Agreement shall not prevent or preclude

Defendant from revising its employment practices and policies or taking other personnel actions

during the term of this Settlement Agreement so long as such actions would not violate the terms

of this Settlement Agreement.
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           C.   Modifications. Except as specifically provided for herein, this Settlement

Agreement may not be amended or modified except with the express written consent of the

Parties.

           D.   Exhibits. The Exhibits to this Settlement Agreement are material and integral

parts hereof and are fully incorporated herein by this reference.

           E.   Notices to Counsel. All notices to counsel required or desired to be given under

this Settlement Agreement shall be in writing and by overnight mail and e-mail to counsel for the

respective Parties (specifically, to Linda D. Friedman and Suzanne E. Bish for the Class and

Kenneth J. Turnbull of Morgan, Lewis & Bockius LLP and Brad S. Karp of Paul, Weiss,

Rifkind, Wharton & Garrison LLP, for Defendant) at their respective addresses set forth below

(or at such other address as any such party or counsel may designate in a subsequent notice).

           F.   Failure to Insist on Strict Compliance. The failure of any party to insist in any

one or more instances on strict compliance with the terms and conditions hereof shall not be

construed to be a waiver of remedies available with respect to any prior or subsequent breach.

           G.   Settlement Agreement Binding. This Settlement Agreement shall inure to the

benefit of, and be binding upon, the Parties hereto and their respective heirs, dependents,

executors, administrators, trustees, legal representatives, personal representatives, agents,

successors, and assigns; provided, however, that this Settlement Agreement shall not inure to the

benefit of any third party.

           H.   Dispute Resolution Mechanisms. The Parties will work diligently and in good

faith to resolve all disputes that may arise between them concerning the rights, obligations, and

duties of the Parties to this Agreement. In the event that the Parties cannot agree, the Parties will

attempt to resolve the dispute with the facilitation of a mediator. In the event that mediation is



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unsuccessful, then either party may institute an enforcement action. Settlement Class Members

will have no individual right to enforce the terms of the Settlement Agreement. Rather, only

Defendant and Named Plaintiffs, through Class Counsel, may seek to enforce the terms of the

Settlement Agreement. In any action brought to enforce this Agreement, the Court may, in its

discretion, award reasonable attorneys’ fees and expenses to the prevailing party.

       I.      No Drafting Presumption. All Parties hereto have participated, through their

respective counsel, in the drafting of this Settlement Agreement and, therefore, this Settlement

Agreement shall not be construed more strictly against one party than another.

       J.      Dispute As To Meaning of Agreement Terms. In the event of any dispute or

disagreement with respect to the meaning, effect, or interpretation of this Settlement Agreement

or any Exhibit hereto, or in the event of a claimed breach of the Settlement Agreement, the

Parties agree that such dispute will be resolved and adjudicated only in accordance with the

dispute resolution provisions of Section XI.H of this Settlement Agreement.

       K.      Interpretation of Terms. Whenever possible, each provision and term of this

Settlement Agreement shall be interpreted in such a manner as to be valid and enforceable.

       L.      Paragraph and Section Headings. Paragraph and section headings are for

convenience of reference only and are not intended to create substantive rights or obligations.

       M.      Counterparts. This Settlement Agreement may be executed in counterparts. Each

signed counterpart together with the others shall constitute the full Settlement Agreement.

       N.      Agreement Binding. As of the date on which counsel for the Parties execute this

Settlement Agreement, this Settlement Agreement shall be binding in all respects, subject to the

terms and conditions set forth herein.




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       O.      Parties’ Authority. The signatories hereby represent that they are fully authorized

to enter into this Settlement Agreement and to bind the Parties to the terms and conditions

hereof. All of the Parties acknowledge that through this Settlement Agreement and its

attachments, they and the Class Members are being advised that they may consult an attorney

regarding their participation in this Settlement Agreement, and the Parties acknowledge that they

in fact have been represented by competent, experienced Counsel throughout all negotiations

which preceded the execution of this Settlement Agreement, and this Settlement Agreement is

made with the consent and advice of Counsel who have jointly prepared this Settlement

Agreement.

Dated: August 31, 2018             STOWELL & FRIEDMAN, LTD.



                                   By: /s/ Linda D. Friedman

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  Dated: Auf .2*? , 2018     PAIL, WEISS, RIFKIND, WHARTON & GARRISON
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